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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )      Case No. 1:08CR00024-015
                                              )
v.                                            )               ORDER
                                              )
BRYAN KENDALL MORRISON,                       )      By: James P. Jones
                                              )      United States District Judge
                 Defendant.                   )


       For the reasons set forth in the Opinion accompanying this Order, it is

ORDERED as follows: (1) Bryan Kendall Morrison’s Motion to Vacate, Set

Aside or Correct Sentence, pursuant to 28 U.S.C. § 2255 (docketed as both ECF

No. 2966 and No. 2970), is GRANTED as to his claim that his life sentence under

21 U.S.C. § 841(b)(1)(A) is unlawful under United States v. Simmons, 649 F.3d

237 (4th Cir. 2011) (en banc);    (2) Morrison’s sentence is VACATED, effective

upon resentencing by this court; and (3) the Clerk is DIRECTED to schedule a

resentencing hearing with the defendant present, or, if he waives his presence,

appearing by video from his place of confinement.

                                            ENTER: July 11, 2013

                                            /s/ James P. Jones
                                            United States District Judge
